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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

    In re:                                                      §
                                                                §   Chapter 11
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                §   Case No. 19-34054-sgj11
                                                                §
                                    Reorganized Debtor.
                                                                §
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                          §
                                                                §   Adversary Proceeding No.
                                    Plaintiff,                  §
                                                                §   21-03003-sgj
    vs.                                                         §
                                                                §
    JAMES DONDERO,                                              §
                                                                §
                                    Defendant.                  §




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  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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                            PLAINTIFF’S SECOND AMENDED
                      NOTICE OF DEPOSITION OF BRUCE MCGOVERN

         PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, made applicable herein pursuant to Rules 7030 and 9014 of the Federal Rules of

Bankruptcy Procedure, Highland Capital Management, L.P. (“Plaintiff” or the “Reorganized

Debtor”), the plaintiff in the above-referenced adversary proceeding and the reorganized debtor

in the above-captioned chapter 11 case, will take the deposition of Bruce McGovern in connection

with the above-referenced adversary proceeding on November 9, 2021, commencing at 10:00

a.m. (Central Time), or at such other day and time as Plaintiff determines upon reasonable notice.

The deposition will be taken under oath before a notary public or other person authorized by law

to administer oaths.

         The deposition will be taken remotely via an online platform due to the coronavirus

pandemic such that no one will need to be in the same location as anyone else in order to

participate in the deposition and by use of Interactive Realtime. Parties who wish to participate

in the deposition should contact John A. Morris, Pachulski Stang Ziehl & Jones LLP, at

jmorris@pszjlaw.com for more information regarding participating in this deposition remotely.




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 Dated: October 28, 2021.          PACHULSKI STANG ZIEHL & JONES LLP

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